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            EXHIBIT 7
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                                                                           Page 1
 1                       Erin E. Driver-Linn
 2                UNITED STATES DISTRICT COURT
 3              FOR THE DISTRICT OF MASSACHUSETTS
 4

 5

 6

 7   **********************************
 8   STUDENTS FOR FAIR ADMISSIONS, INC.,
 9                      Plaintiff
10   vs.                                CA NO. 1:14-CV-14176
11   PRESIDENT AND FELLOWS OF
     HARVARD COLLEGE
12   (HARVARD CORPORATION),
13

                        Defendant
14

     **********************************
15

16         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
17            DEPOSITION OF:            ERIN E. DRIVER-LINN
18                               WILMERHALE
19                           60 State Street
20                      Boston, Massachusetts
21               July 27, 2017                         9:03 a.m.
22                       Darlene M. Coppola
23                   Registered Merit Reporter
24                  Certified Realtime Reporter
25   Job no. 127103

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                                                                           Page 36
 1                       Erin E. Driver-Linn
 2       Q.     Did you use text messages at any
 3   point in time between 2012 and 2014 for
 4   work-related purposes?
 5       A.     I don't think so.
 6       Q.     It's a more recent development with
 7   respect to the use of text messages?
 8       A.     Yes.
 9                       MS. ELLSWORTH:                Objection.
10   BY MR. STRAWBRIDGE:
11       Q.     How do you know that it's a more
12   recent development?
13       A.     It's a general sense that I have.
14       Q.     Do you remember not at some point
15   using -- you just began using text messages
16   more frequently?
17       A.     Yes, usually to convey when I was
18   going to be late for a meeting or something
19   like that.
20       Q.     Among your responsibilities at
21   Harvard, is it overseeing the office of
22   institutional research?
23       A.     Yes.
24       Q.     What, generally, is the mission of
25   the office of institutional research?

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                                                                           Page 37
 1                       Erin E. Driver-Linn
 2       A.     To collect, summarize and report
 3   statistics externally and internally and to
 4   address questions of interest primarily to
 5   the office of the president and provost
 6   using data and other sources of
 7   information.
 8       Q.     I think the first one, you talked
 9   about collecting and summarizing data and
10   statistics for internal and external
11   sources?
12       A.     Correct.
13       Q.     So what do you mean by "external
14   sources"?
15       A.     The federal government requires that
16   institutions provide data.                IPEDS is one
17   such requirement.
18       Q.     Do you know what IPEDS stands for?
19       A.     Integrated post-secondary
20   educational data.         I'm not sure.
21       Q.     It's basically the federal standard
22   for the collection of information from
23   universities?
24       A.     Yes.
25       Q.     And so it is OIR's responsibility to

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                                                                           Page 38
 1                       Erin E. Driver-Linn
 2   collect and prepare the reports that go to
 3   the federal government?
 4                       MS. ELLSWORTH:                Objection.
 5       A.     It's more complicated than that.
 6   BY MR. STRAWBRIDGE:
 7       Q.     Tell me, generally, what OIR's
 8   responsibilities are with respect to
 9   reporting to the federal government.
10       A.     There's a -- each university has to
11   have a designated keyholder, it's called.
12   Someone in my office is, generally, that
13   person.
14              Harvard's decentralization means
15   that data is collected at the school level
16   and then often provided to us in the
17   aggregate.
18              Ultimately, someone in my office has
19   to press "send."
20   BY MR. STRAWBRIDGE:
21       Q.     And before you -- I mean, do you
22   literally just press "send," or does your
23   office, you know, review, organize and
24   sometimes analyze the data to -- before
25   it's sent on to the federal government?

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                                                                           Page 39
 1                       Erin E. Driver-Linn
 2                       MS. ELLSWORTH:                Objection.
 3       A.     My best understanding is that the
 4   IPEDS submission is not an analysis, it's a
 5   collection, aggregation.               My best
 6   understanding is that some categories of
 7   information that my team -- members of my
 8   team do not review, and other categories of
 9   information does get reviewed.
10   BY MR. STRAWBRIDGE:
11       Q.     And what types of information might
12   be reviewed by OIR?
13                       MS. ELLSWORTH:                Objection.
14       A.     I don't know.
15   BY MR. STRAWBRIDGE:
16       Q.     Are there penalties for failure to
17   provide the statistical information to the
18   federal government through IPEDS?
19                       MS. ELLSWORTH:                Objection.
20       A.     I don't know.
21   BY MR. STRAWBRIDGE:
22       Q.     Are there other external sources who
23   receive statistical reports from OIR?
24                       MS. ELLSWORTH:                Objection.
25       A.     I'm not sure my understanding of

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                                                                           Page 40
 1                       Erin E. Driver-Linn
 2   "reports" is the same as yours.
 3   BY MR. STRAWBRIDGE:
 4       Q.     For statistical information, are
 5   there other external sources for whom OIR
 6   is responsible for sending statistical
 7   information about Harvard?
 8       A.     Yes.
 9       Q.     And what are the other external
10   sources?
11       A.     Two examples include AAU, the AAU
12   data exchange, Association of American
13   Universities data exchange, and COFHE, a
14   consortium on financing higher education.
15       Q.     Those are both, essentially, groups
16   of universities that have agreements to
17   share certain institutional data with one
18   another?
19                       MS. ELLSWORTH:                Objection.
20       A.     That's my understanding.
21   BY MR. STRAWBRIDGE:
22       Q.     Is OIR ever responsible for
23   providing statistical information to
24   accreditation agencies?
25       A.     Yes.

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                                                                           Page 41
 1                        Erin E. Driver-Linn
 2       Q.     And do you know which accreditation
 3   agencies?
 4       A.     Yes.
 5       Q.     And which ones?
 6       A.     NEASC.
 7       Q.     And what is NEASC?
 8       A.     New England Association of Schools
 9   and Colleges.
10       Q.     And that's the primary body that's
11   responsible for accrediting Harvard as a
12   post-secondary educational institution?
13                        MS. ELLSWORTH:                Objection.
14       A.     Yes.
15   BY MR. STRAWBRIDGE:
16       Q.     And how often do you have to provide
17   data to NEASC?
18       A.     Roughly, every ten years, there's a
19   comprehensive review, roughly.                     In
20   between -- halfway in between, there's an
21   interim report and there is some
22   statistical data -- let me clarify -- just
23   aggregated numbers that is sent annually.
24       Q.     Does OIR have any responsibility for
25   sending -- for preparing or sending

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                                                                           Page 51
 1                       Erin E. Driver-Linn
 2       A.     I'm not sure.
 3   BY MR. STRAWBRIDGE:
 4       Q.     If I told you that there was
 5   testimony in this case that there's a
 6   couple of people in the college's
 7   institutional research office, that would
 8   make that department smaller or larger than
 9   OIR?
10                       MS. ELLSWORTH:                Objection.
11       A.     That would make it smaller.
12   BY MR. STRAWBRIDGE:
13       Q.     How many people work for the OIR?
14       A.     If you count me and my assistant, I
15   believe we're ten.
16       Q.     Is that roughly the same size it's
17   been for the last four or five years?
18       A.     Roughly.
19       Q.     Do you know what the annual budget
20   of your office is?
21                       MS. ELLSWORTH:                Objection.
22       A.     No.
23   BY MR. STRAWBRIDGE:
24       Q.     Do you have any ballpark idea?
25                       MS. ELLSWORTH:                Objection.

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                                                                           Page 52
 1                       Erin E. Driver-Linn
 2       A.    Yes.
 3   BY MR. STRAWBRIDGE:
 4       Q.    And what is your ballpark idea?
 5       A.    A little under 1 million, maybe.
 6       Q.    When did you first come to work for
 7   OIR?
 8       A.    2008.
 9       Q.    And what was your role in 2008 at
10   OIR?
11       A.    Director of institutional research.
12       Q.    How is that role different than the
13   one you have now?
14                       MS. ELLSWORTH:                Objection.
15       A.    Could you be more specific?
16   BY MR. STRAWBRIDGE:
17       Q.    What were your responsibilities as
18   director of institutional research?
19                       MS. ELLSWORTH:                Objection.
20       A.    To oversee and guide the work of the
21   office.
22   BY MR. STRAWBRIDGE:
23       Q.    What were your qualifications for
24   that job?
25                       MS. ELLSWORTH:                Objection.

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                                                                            Page 53
 1                       Erin E. Driver-Linn
 2         A.   A doctoral degree in social
 3   psychology, experience working on various
 4   kinds of research projects.
 5   BY MR. STRAWBRIDGE:
 6         Q.   What was your undergraduate degree
 7   in?
 8         A.   Communications.
 9         Q.   Where did you earn that from?
10         A.   University of Arkansas.
11         Q.   Do you have a master's degree?
12         A.   They give you a master's degree on
13   the way to the doctoral degree.
14         Q.   Is it also in -- I'm sorry.                        Was it
15   at -- in social psychology?
16         A.   Uh-huh.
17         Q.   So you have a master's and a
18   doctorate in social psychology?
19                       MS. ELLSWORTH:                Objection.
20   BY MR. STRAWBRIDGE:
21         Q.   Or does the doctorate trump the
22   master's?
23         A.   It does.
24         Q.   Did you have experience with
25   statistical analysis before you became

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                                                                           Page 54
 1                       Erin E. Driver-Linn
 2   director of institutional research?
 3                       MS. ELLSWORTH:                Objection.
 4       A.    Yes.
 5   BY MR. STRAWBRIDGE:
 6       Q.    And what was your experience?
 7       A.    I took classes in methods, and I
 8   analyzed data from psychology experiments.
 9       Q.    And was that the only statistical
10   training or experience that you had?
11                       MS. ELLSWORTH:                Objection.
12       A.    Classes, experience; yes.
13   BY MR. STRAWBRIDGE:
14       Q.    How many years of experience do you
15   think you had in statistical analysis?
16       A.    Ten-ish.
17       Q.    Is an advanced degree in statistics
18   a requirement of working in the office of
19   institutional research?
20                       MS. ELLSWORTH:                Objection.
21       A.    Not to my knowledge.
22   BY MR. STRAWBRIDGE:
23       Q.    Are the people who work in the
24   office of institutional research expected
25   to have some familiarity or experience with

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                                                                           Page 68
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.     You didn't fire Mr. Hansen?
 4       A.     I did not.
 5                       MS. ELLSWORTH:                Can we take a
 6   break?
 7                       MR. STRAWBRIDGE:                  Yes, we can
 8   take a break.
 9

10                      (Recess taken from 10:11 a.m.
11                      to 10:23 a.m.)
12

13   BY MR. STRAWBRIDGE:
14       Q.     Where did you earn your Ph.D.
15   from?
16       A.     Harvard University.
17       Q.     And when did you -- when did you
18   earn it?
19       A.     2001.
20       Q.     And how were you employed between
21   2001 and 2008?
22       A.     First post-doc and teaching, then
23   became an associate director at the Derek
24   Box Center for Teaching and Learning.
25       Q.     And were both of those roles, the

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                                                                           Page 69
 1                       Erin E. Driver-Linn
 2   post-doc and the teaching, was that also at
 3   Harvard?
 4       A.     Yes.
 5       Q.     And what were your responsibilities
 6   at the Derek Bok Center?
 7       A.     Developing programs, organizing
 8   workshops, supervising mostly graduate
 9   students, I think.
10       Q.     What type of work is done at the
11   Derek Bok Center?
12                       MS. ELLSWORTH:                Objection.
13       A.     The center is responsible for
14   supporting, teaching and learning of anyone
15   who teaches undergraduates.
16   BY MR. STRAWBRIDGE:
17       Q.     So it supports teaching assistants
18   or graduate students who teach at the
19   school?
20                       MS. ELLSWORTH:                Objection.
21       A.     Among others.
22   BY MR. STRAWBRIDGE:
23       Q.     And did you leave the Derek Bok
24   Center to take the job as director of
25   institutional research?

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                                                                           Page 70
 1                       Erin E. Driver-Linn
 2       A.    Yes.
 3       Q.    Why did you make that career change?
 4       A.    It seemed like a good one.
 5       Q.    How long did you serve in the role
 6   as director of institutional research?
 7       A.    I'm not sure.
 8       Q.    At some point, your title changed?
 9       A.    Yes.
10       Q.    Do you remember approximately when
11   that was?
12       A.    2011, '12.
13       Q.    And how did your title change at
14   that time?
15       A.    I became director of HILT as well.
16       Q.    And so you added director of HILT?
17       A.    (Witness nodding.)
18       Q.    What is the difference between HILT
19   and OIR in terms of their mission?
20                       MS. ELLSWORTH:                Objection.
21       A.    Could I just describe the mission of
22   HILT?
23   BY MR. STRAWBRIDGE:
24       Q.    Sure.
25       A.    To provide grants -- internal grants

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                                                                           Page 83
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Just generally, looking at it based
 4   on the minute or so you've had it, do you
 5   recognize it?
 6       A.    I don't.
 7       Q.    Do you recognize the handwriting in
 8   the upper right corner?
 9       A.    I don't.
10       Q.    Do you know whether that's your
11   handwriting or not?
12       A.    It doesn't look like it.
13       Q.    Do you see the date in the bottom
14   right corner of January 4, 2013?
15       A.    I do.
16       Q.    Do you know why you would have had
17   this article in your files?
18                       MS. ELLSWORTH:                Objection.
19       A.    I don't.
20   BY MR. STRAWBRIDGE:
21       Q.    My question is, do you remember
22   reviewing articles, gathering information
23   about race-conscious admissions in early
24   2013?
25       A.    I don't.

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                                                                           Page 84
 1                       Erin E. Driver-Linn
 2       Q.     Did you review this document in
 3   preparation for your testimony today?
 4       A.     No.
 5       Q.     So you recall having a meeting where
 6   you think counsel may have been present in
 7   early 2013 with Dean Fitzsimmons; is that
 8   correct?
 9                       MS. ELLSWORTH:                Objection.
10       A.     I generally think there was a
11   meeting then.
12   BY MR. STRAWBRIDGE:
13       Q.     Do you know, for example, has
14   anyone, in preparation for this deposition,
15   checked Mr. Iuliano's calendar?
16                       MS. ELLSWORTH:                Objection.
17       A.     I don't know.
18   BY MR. STRAWBRIDGE:
19       Q.     Do you know if the anyone's checked
20   Dean Fitzsimmons' calendar?
21       A.     I don't know.
22       Q.     Do you remember the claims that were
23   made in Ron Unz's article?
24       A.     I remember one for sure.
25       Q.     And what one do you remember?

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                                                                           Page 85
 1                       Erin E. Driver-Linn
 2       A.    I remember the claim that the
 3   aptitude or merit of Jewish individuals was
 4   less after multiple generations than it
 5   was.
 6       Q.    Do you remember claims about the Ivy
 7   League putting a cap on Asian-American
 8   admissions in that article?
 9       A.    Generally.
10       Q.    Do you remember whether or not that
11   claim included an allegation that Harvard
12   was capping Asian-American admissions?
13       A.    I remember Harvard's name being
14   used.
15       Q.    Following the publication of that
16   article, was OIR asked to investigate
17   whether the admissions office statistics
18   supported or refuted the allegation that
19   Asian-Americans were disadvantaged by
20   Harvard's admissions process?
21                       MS. ELLSWORTH:                Objection.
22             I'm remind the witness in answering
23   the question not to disclose the content of
24   communications with counsel or actions
25   taken at the direction of counsel.

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 1                        Erin E. Driver-Linn
 2              If you can answer the question
 3   without disclosing that information, you
 4   may do so.
 5       A.     I'm sorry.         Could you repeat the
 6   question?
 7   BY MR. STRAWBRIDGE:
 8       Q.     Yes.
 9              Do you remember OIR being asked to
10   investigate whether the admissions offices
11   statistics could refute or support the
12   claim that Asian-Americans were
13   disadvantaged by Harvard's admissions
14   process?
15       A.     No.
16       Q.     You don't remember being asked to
17   investigate that?
18       A.     No.
19       Q.     Did OIR, in fact, investigate that
20   question in 2013?
21                        MS. ELLSWORTH:                Objection.
22       A.     I don't think the question is
23   exactly how I would phrase it.
24   BY MR. STRAWBRIDGE:
25       Q.     *Okay.      Was OIR asked to do some

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                                                                           Page 87
 1                       Erin E. Driver-Linn
 2   sort of investigation into whether or not
 3   Asian-Americans were disadvantaged by
 4   Harvard's admissions process?
 5                       MS. ELLSWORTH:                Objection.
 6              Again, I'll remind the witness not
 7   to disclose communications with counsel or
 8   actions taken at the direction of counsel.
 9              If you can respond to the question
10   without doing so, you may.
11       A.     *I don't know.
12   BY MR. STRAWBRIDGE:
13       Q.     *You don't know one way or the
14   other?
15                       MS. ELLSWORTH:                Objection.
16              I'll give you the same reminder.
17       A.     Could you repeat the question?
18                       MR. STRAWBRIDGE:                  Can you read
19   it back.
20

21                         *(Record read.)
22

23       A.     I don't know.
24

25


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                                                                           Page 95
 1                       Erin E. Driver-Linn
 2              "Do" means to take action.
 3              Like, what did OIR do with -- in
 4   response to Ron Unz's article that wasn't
 5   at the direction of counsel?
 6                       MS. ELLSWORTH:                Objection.
 7              Just answer the question as best you
 8   can if he won't clarify it.
 9       A.     I can't remember what was done at
10   the direction of counsel and what was not
11   exactly.
12   BY MR. STRAWBRIDGE:
13       Q.     When you prepared for this
14   deposition, did you discuss what OIR --
15   what actions OIR took in response to the
16   Ron Unz article?
17                       MS. ELLSWORTH:                Objection.
18              I will direct the witness not to
19   answer that question.
20   BY MR. STRAWBRIDGE:
21       Q.     Are you going to follow that
22   advice?
23       A.     I am.
24       Q.     As part of your preparation for this
25   article, did you review what actions OIR

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                                                                           Page 99
 1                       Erin E. Driver-Linn
 2                       MS. ELLSWORTH:                Objection.
 3       A.     I believe it to be an internal work
 4   product.
 5   BY MR. STRAWBRIDGE:
 6       Q.     Why do you believe it to be an
 7   internal work product?
 8       A.     Because it has blank pages, because
 9   it has a subtitle called "subtitle,"
10   because the exhibits are very exploratory
11   and very limited.
12       Q.     Who prepared this document?
13       A.     I'm not sure.
14       Q.     You don't have any idea who prepared
15   this documents?
16                       MS. ELLSWORTH:                Objection.
17       A.     That's not what I said.
18   BY MR. STRAWBRIDGE:
19       Q.     Okay.    What do you know about who
20   prepared this document?
21       A.     I think it likely involved Erica
22   Bever and/or Mark Hansen.
23       Q.     Why do you think that?
24       A.     Because they were working on similar
25   kinds of work products.

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 1                       Erin E. Driver-Linn
 2   questions that Dean Fitzsimmons had asked
 3   of OIR?
 4       A.     I don't know.
 5       Q.     And other than talking to
 6   Mr. Scanlon and Mr. Schwartz, did you take
 7   any other steps to try to figure out why
 8   this document was created?
 9                       MS. ELLSWORTH:                Objection.
10       A.     Reviewed it; read it.
11   BY MR. STRAWBRIDGE:
12       Q.     Do you know when this document was
13   created?
14       A.     I think it likely was created in
15   February 2013, not 2012.
16       Q.     And why do you think that?
17       A.     Because of other work that was
18   underway at that time, and it doesn't make
19   sense that it would be in 2012 given the
20   other work.
21       Q.     And what other work are you
22   referring to?
23       A.     Other work products that I reviewed
24   in preparation for this deposition.
25       Q.     Does that include other work product

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                                                                      Page 105
 1                       Erin E. Driver-Linn
 2   Asian and white students, correct?
 3       A.    Yes, correct.
 4       Q.    And you can't be admitted if you
 5   don't apply, right?
 6       A.    Sure.
 7       Q.    So it is referring to applicants,
 8   just not using that word?
 9                       MS. ELLSWORTH:                Objection.
10       A.    (Witness nodding.)
11   BY MR. STRAWBRIDGE:
12       Q.    You would agree?
13       A.    I think it likely.
14       Q.    So why was OIR looking at the
15   differences between white and Asian
16   applicants?
17                       MS. ELLSWORTH:                Objection.
18       A.    I'm not completely sure.
19   BY MR. STRAWBRIDGE:
20       Q.    Do you have any idea?
21       A.    I do.
22       Q.    And please, let me just clarify
23   right now, when I said at the beginning of
24   the deposition that I want your best
25   answer, you can qualify your answer, but

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                                                                      Page 106
 1                       Erin E. Driver-Linn
 2   I'm not completely sure -- go ahead and
 3   just tell me what you do know.                    And if you
 4   need to say, I'm not sure, but I think it's
 5   this, that's fine.          I'm trying to speed the
 6   process along.
 7                       MS. ELLSWORTH:                Objection to
 8   the characterization.
 9   BY MR. STRAWBRIDGE:
10       Q.    So what is your general idea as to
11   why OIR was looking at the difference
12   between white and Asian applicants?
13                       MS. ELLSWORTH:                Objection.
14       A.    I believe there was concern about
15   the difference between Asian and white
16   applicants at this time.
17   BY MR. STRAWBRIDGE:
18       Q.    And why was there concern?
19                       MS. ELLSWORTH:                Objection.
20       A.    In part because of what was in
21   popular press.
22   BY MR. STRAWBRIDGE:
23       Q.    Does that include Ron Unz's article?
24       A.    Yes.
25       Q.    And would you agree that the first

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                                                                      Page 108
 1                       Erin E. Driver-Linn
 2   investigation into allegations of race
 3   discrimination at Harvard?
 4                       MS. ELLSWORTH:                Objection.
 5         A.   I had heard that there was such a
 6   thing, but I don't know the specifics of
 7   it.
 8   BY MR. STRAWBRIDGE:
 9         Q.   But you're aware of that general
10   investigation, or you're aware of Harvard
11   attributing the difference to legacies and
12   athletes?
13                       MS. ELLSWORTH:                Objection.
14         A.   I was aware that an investigation
15   had happened.
16   BY MR. STRAWBRIDGE:
17         Q.   Did Dean Fitzsimmons ask OIR to
18   investigate whether or not the difference
19   in admission rates between Asian and white
20   applicants could be explained by legacy and
21   athlete status?
22                       MS. ELLSWORTH:                Objection.
23         A.   I'm not sure.
24   BY MR. STRAWBRIDGE:
25         Q.   *Did -- have you heard Dean

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                                                                      Page 125
 1                       Erin E. Driver-Linn
 2   personal rating is higher.
 3   BY MR. STRAWBRIDGE:
 4       Q.    Do you know why that is?
 5                       MS. ELLSWORTH:                Objection.
 6       A.    I don't.
 7   BY MR. STRAWBRIDGE:
 8       Q.    Do you have any reason to believe
 9   that it's based on any inaccurate data that
10   OIR was using?
11                       MS. ELLSWORTH:                Objection.
12       A.    It's my belief that data is always
13   somewhat inaccurate and datasets are more
14   or less clean or perfect.
15   BY MR. STRAWBRIDGE:
16       Q.    So do you think -- do you think that
17   the personal rating difference here is
18   based on any errors in data analysis by
19   OIR?
20                       MS. ELLSWORTH:                Objection.
21       A.    Not that I know of.
22   BY MR. STRAWBRIDGE:
23       Q.    Do you think anything else on this
24   chart is the product of any errors in
25   analysis of data by OIR?

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                                                                        Page 126
 1                       Erin E. Driver-Linn
 2                       MS. ELLSWORTH:                Objection.
 3       A.     Not by my definition of "error."
 4   BY MR. STRAWBRIDGE:
 5       Q.     By anyone's definition of "error"?
 6                       MS. ELLSWORTH:                Objection.
 7       A.     I don't know.
 8                       MS. ELLSWORTH:                If you're
 9   moving on, why don't we take a break, to
10   another line.
11                       MR. STRAWBRIDGE:                  Yes, let's
12   take a short break.
13

14                     (Recess taken from 11:37 a.m.
15                       to 11:49 a.m.)
16

17   BY MR. STRAWBRIDGE:
18       Q.     During the break, did you discuss
19   the substance of your testimony with
20   counsel?
21       A.     No.
22       Q.     Looking back at the exhibit in front
23   of you, how is the analysis on                        Page 6
24   prepared?
25       A.     What do you mean by "prepared"?

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                                                                      Page 127
 1                       Erin E. Driver-Linn
 2       Q.    How did OIR go about preparing this
 3   chart?
 4                       MS. ELLSWORTH:                Objection.
 5       A.    I'm sorry.         Do you mean put together
 6   the chart, the underlying analysis, or
 7   both?
 8   BY MR. STRAWBRIDGE:
 9       Q.    Well, let's start with the
10   underlying analysis.
11                       MS. ELLSWORTH:                Objection.
12       A.    It appears to be based on the
13   academic index and numbers and percentages
14   of applicants.
15   BY MR. STRAWBRIDGE:
16       Q.    And what data was used to prepare
17   this chart?
18       A.    It appears to be the classes of 2007
19   through '16, presumably the same data that
20   was used in some of the earlier exhibits.
21       Q.    Is your answer just based on what
22   appears on this page, or do you have an
23   independent understanding of how OIR
24   prepared this chart?
25                       MS. ELLSWORTH:                Objection.

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                                                                      Page 128
 1                       Erin E. Driver-Linn
 2       A.    It's based on what I see in this
 3   chart and what I sense -- my sense of how
 4   OIR would work on things.
 5   BY MR. STRAWBRIDGE:
 6       Q.    Do you -- are you aware of any
 7   mathematical errors on this chart?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    I'm not aware of mathematical
10   errors.
11   BY MR. STRAWBRIDGE:
12       Q.    Are you aware of any other
13   inaccuracies in the information reported on
14   this chart by OIR?
15                       MS. ELLSWORTH:                Objection.
16       A.    Not by my definition of
17   "inaccuracy."
18   BY MR. STRAWBRIDGE:
19       Q.    Just generally, under anyone's
20   definition of "inaccuracy" is there
21   anything on here that you consider to be --
22   is there -- does this chart reflect any
23   inaccurate analysis by OIR?
24                       MS. ELLSWORTH:                Objection.
25       A.    Not that I know of.

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                                                                      Page 129
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    The next chart on Page 7, how was
 4   this chart prepared?
 5       A.    Assuming you mean the same as
 6   before, I believe it was prepared with
 7   looking at the classes of 2007 to '16 and
 8   the average SAT scores and both the numbers
 9   and percentages of different applicant
10   groups.
11       Q.    Are you aware of any errors in the
12   information presented on this chart?
13                       MS. ELLSWORTH:                Objection.
14       A.    I'm not aware of any errors.
15   BY MR. STRAWBRIDGE:
16       Q.    The next chart on Page 8, what does
17   this chart portray?
18       A.    Odds ratios.
19       Q.    What's an odds ratio?
20       A.    It's an estimate used to compare
21   probabilities.
22       Q.    And are odds ratios a standard
23   statistical way of analyzing data?
24                       MS. ELLSWORTH:                Objection.
25       A.    It depends by what you mean by

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                                                                      Page 138
 1                       Erin E. Driver-Linn
 2   in 2013?
 3                       MS. ELLSWORTH:                Objection.
 4       A.     I'm sorry.        I thought you said this
 5   analysis.
 6   BY MR. STRAWBRIDGE:
 7       Q.     I meant -- I meant documents created
 8   using this type of model, that's clarified.
 9                       MS. ELLSWORTH:                Objection.
10              If you can answer that question, go
11   ahead.
12       A.     I don't remember this kind of
13   analysis in 2013.
14   BY MR. STRAWBRIDGE:
15       Q.     Looking at Page 9, setting aside
16   your concerns about how confusing it is,
17   are you aware of any statistical errors
18   that underlie the data reflected on
19   Page 9?
20                       MS. ELLSWORTH:                Objection.
21       A.     (Witness reviews document.)
22              Not by my definition of "error."
23   BY MR. STRAWBRIDGE:
24       Q.     And what is your definition of
25   "error"?

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                                                                      Page 139
 1                       Erin E. Driver-Linn
 2       A.    One example would be a mislabeled
 3   variable.
 4       Q.    Would another example be, like, an
 5   incorrect calculation?
 6       A.    Sure.
 7       Q.    Another example would be the failure
 8   to accurately use the data that you're
 9   relying upon in the model?
10                       MS. ELLSWORTH:                Objection.
11   BY MR. STRAWBRIDGE:
12       Q.    In other words, like a data
13   translation error where you thought you
14   were drawing from column A and you actually
15   were drawing from column B?
16       A.    Yes, that's another example.
17       Q.    You're not aware of any of those
18   types of errors?
19       A.    I'm not.
20       Q.    On Page 10, there's a slide
21   describing a method.
22             Do you see that?
23       A.    Yes.
24       Q.    And do you agree with me that this
25   is laying out a methodology for

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                                                                      Page 161
 1                       Erin E. Driver-Linn
 2       A.    I don't think so.
 3             Oh, it could be.               It could be,
 4   February 25.     But I was -- I don't remember
 5   the COFHE discussion.
 6       Q.    Well, his reply to you says,
 7   "Perhaps we could meet on the 25th about
 8   COFHE and the other issues as well."
 9             Did I read that correctly?
10       A.    You did.
11       Q.    And so do the other issues include
12   these issues that came up around the Unz
13   discussions?
14                       MS. ELLSWORTH:                Objection.
15       A.    Presumably, he's referring back to
16   my e-mail.
17   BY MR. STRAWBRIDGE:
18       Q.    Did OIR, in fact, meet with Dean
19   Fitzsimmons on February 25th, 2013?
20       A.    My best understanding in preparation
21   for this deposition is that we did.
22   BY MR. STRAWBRIDGE:
23       Q.    And who else was at that meeting?
24       A.    I'm not sure.
25       Q.    Do you have any idea who else was at

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                                                                           Page 162
 1                       Erin E. Driver-Linn
 2   that meeting?
 3       A.    I think, based on the preparation,
 4   that it would have been Mark Hansen,                          Erica
 5   Bever, potentially Elizabeth Yong,
 6   potentially Sally Donahue, but I'm not
 7   sure.
 8       Q.    And Dean Fitzsimmons?
 9       A.    And Dean Fitzsimmons.
10       Q.    Anybody else?
11       A.    I don't think so.
12                       MR. STRAWBRIDGE:                  Do you want
13   to take lunch now or do you want to go
14   through another exhibit?
15                       MS. ELLSWORTH:                How long is
16   the exhibit?
17

18             (Off-the-record discussion)
19

20                               (Exhibit No. 7 marked
21                               for identification.)
22

23   BY MR. STRAWBRIDGE:
24       Q.    Handing you a document that's been
25   marked as Exhibit 7.           Let's just start with

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                                                                        Page 191
 1                       Erin E. Driver-Linn
 2       Q.    So you -- so Harvard's testimony,
 3   through you as their 30(b)(6) witness, is
 4   that you do not know what type of report --
 5   which version of this report was shared
 6   with Dean Fitzsimmons?
 7                       MS. ELLSWORTH:                Objection.
 8       A.    It's my best understanding from
 9   reading the materials that there was a
10   meeting and there was a version of this
11   work, but I don't know what version.
12   BY MR. STRAWBRIDGE:
13       Q.    Do you have any basis to believe
14   that the version that was presented at the
15   meeting with Dean Fitzsimmons is different
16   than this one?
17                       MS. ELLSWORTH:                Objection.
18             Which exhibit are you referring to
19   when you say "this one"?
20                       MR. STRAWBRIDGE:                  Exhibit 8.
21       A.    (Witness reviews document.)
22             I don't have any reason to -- I
23   don't know.
24   BY MR. STRAWBRIDGE:
25       Q.    What do you remember about the

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                                                                      Page 193
 1                       Erin E. Driver-Linn
 2   felt like it might have gone too far.
 3   BY MR. STRAWBRIDGE:
 4       Q.    And what do you mean by "gone too
 5   far"?
 6       A.    Being reductive, trying to take
 7   complex things and reduce them to overly
 8   simplistic.
 9       Q.    Did you decide -- well, strike that.
10             Why did you have this reaction?
11                       MS. ELLSWORTH:                Objection.
12       A.    I don't know.            It's a vague memory.
13   BY MR. STRAWBRIDGE:
14       Q.    Do you remember Dean Fitzsimmons
15   saying something in particular about
16   Pages 30 through 39 of this report?
17       A.    I don't.
18       Q.    Do you remember feeling like the
19   suggestion that Asian -- that the
20   admissions process disadvantages
21   Asian-Americans was troubling to him?
22                       MS. ELLSWORTH:                Objection.
23       A.    Could you repeat the question?
24   BY MR. STRAWBRIDGE:
25       Q.    Do you remember whether he had a

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                                                                      Page 194
 1                       Erin E. Driver-Linn
 2   reaction that suggested that Pages 30 to 39
 3   of this report presented information that
 4   was troubling to him?
 5                       MS. ELLSWORTH:                Objection.
 6         A.   I do not.
 7   BY MR. STRAWBRIDGE:
 8         Q.   Do you remember him disagreeing with
 9   the analysis that appears on Pages 30 to
10   39?
11                       MS. ELLSWORTH:                Objection.
12         A.   I do not.
13   BY MR. STRAWBRIDGE:
14         Q.   Do you remember him saying, we
15   should look into this further?
16         A.   I do not.
17         Q.   Or anything like that at all?
18                       MS. ELLSWORTH:                Objection.
19         A.   I do not.
20   BY MR. STRAWBRIDGE:
21         Q.   Do you remember him having any
22   visible reaction to the information that
23   appears on Pages 30 to 39 of this version
24   of the report?
25                       MS. ELLSWORTH:                Objection.

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                                                                      Page 195
 1                       Erin E. Driver-Linn
 2       A.     My vague memory is only that he was
 3   more thoughtful.
 4   BY MR. STRAWBRIDGE:
 5       Q.     What does that mean?
 6       A.     Pausing and reflecting.
 7       Q.     And that's --
 8       A.     Not verbally.
 9              My vague memory is of a pause and
10   then my thinking to myself, has the team
11   gone too far, have I gone too far, has the
12   team gone too far.
13       Q.     Do you think you were presenting
14   information that Dean Fitzsimmons didn't
15   want to know?
16                       MS. ELLSWORTH:                Objection.
17       A.     That is not my sense.
18   BY MR. STRAWBRIDGE:
19       Q.     Then why did you think you had gone
20   too far?
21       A.     Reducing what's a very complicated
22   thing into, you know, a quant model.
23       Q.     Isn't that what the office of
24   institutional research does?
25                       MS. ELLSWORTH:                Objection.

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                                                                      Page 199
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Yes.    Please finish your answer.
 4       A.    I might be wrong about the vague
 5   memory.
 6       Q.    Okay.     Would you agree that on Page
 7   38 of this document, Question 3 under Part
 8   1 Access, still characterized in this
 9   report, is there bias against Asians in
10   college admissions?
11       A.    I have reviewed and see that
12   Question 3 under Part 1 Access in this
13   document is referred to in multiple ways,
14   and the version that I believe is more
15   equivalent to my understanding of the
16   modeling work is evaluating factors that
17   play a role in Harvard College admission.
18       Q.    Did you verbalize this vague sense
19   that you had gone too far in the meeting on
20   February 25th?
21                       MS. ELLSWORTH:                Objection.
22       A.    Not that I recall.
23   BY MR. STRAWBRIDGE:
24       Q.    Did you apologize to Dean
25   Fitzsimmons for shining this light on his

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                                                                      Page 200
 1                       Erin E. Driver-Linn
 2   analysis that was far too subjective to be
 3   subject to some kind of numerical
 4   reductionist analysis?
 5                       MS. ELLSWORTH:                Objection.
 6       A.    I have no recollection of
 7   apologizing to Dean Fitzsimmons about
 8   anything.
 9   BY MR. STRAWBRIDGE:
10       Q.    Did you reprimand your team in front
11   of Dean Fitzsimmons for going too far?
12                       MS. ELLSWORTH:                Objection.
13       A.    Not to my recollection.
14   BY MR. STRAWBRIDGE:
15       Q.    Did you speak to them privately
16   after the meeting and tell them that you
17   think they might have gone too far?
18       A.    Not to my recollection.
19       Q.    Did you ever write -- at any point
20   in 2013, did you ever write down to anybody
21   in any document, as far as you know, the
22   belief that the analysis presented on
23   February 25th was too reductionist?
24                       MS. ELLSWORTH:                Objection.
25       A.    Not that I recall.

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                                                                      Page 201
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Other than, I think you testified
 4   quiet, do you remember anything else Dean
 5   Fitzsimmons said when you presented the
 6   information on Pages 30 through 39 of this
 7   document to him?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    I don't have a memory of presenting.
10   I don't recall him saying anything
11   specific.
12   BY MR. STRAWBRIDGE:
13       Q.    Were you troubled by what the
14   analysis on Pages 30 to 39 showed?
15                       MS. ELLSWORTH:                Objection.
16       A.    I don't remember being troubled.
17   BY MR. STRAWBRIDGE:
18       Q.    Did you think it was at least
19   concerning that there was something to this
20   concern that Asian-Americans are
21   disadvantaged by the admissions process?
22                       MS. ELLSWORTH:                Objection.
23       A.    Can you rephrase the question?
24   BY MR. STRAWBRIDGE:
25       Q.    When you looked at this, did you

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                                                                      Page 210
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Did anyone in the admissions office
 4   tell you that they wanted you to stop
 5   investigating the question of whether
 6   there's bias in college admissions against
 7   Asians?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    No.    I'm pretty sure I would
10   remember if anyone had asked me or anyone
11   on the team to stop work.                I think I would
12   remember that, and I don't remember it.
13   BY MR. STRAWBRIDGE:
14       Q.    Did anyone ask you to dig deeper
15   into this and to try to determine that, in
16   fact, the model that you had built wasn't
17   taking into account certain aspects of the
18   process that would make clear that Asians
19   weren't the subject of bias in the
20   admissions process?
21                       MS. ELLSWORTH:                Objection.
22       A.    Not that I recall.
23   BY MR. STRAWBRIDGE:
24       Q.    Do you think that the people who you
25   showed this to took it seriously?

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                                                                      Page 211
 1                       Erin E. Driver-Linn
 2                       MS. ELLSWORTH:                Objection.
 3       A.    Sitting here today, I think people
 4   take the work of our office seriously, but
 5   I don't know.
 6   BY MR. STRAWBRIDGE:
 7       Q.    Do you remember anyone -- do you
 8   remember anyone expressing concern that
 9   Harvard's admissions process, in fact,
10   might be disadvantaging Asian-Americans,
11   based on this work?
12                       MS. ELLSWORTH:                Objection.
13       A.    I do not.
14   BY MR. STRAWBRIDGE:
15       Q.    No one ever verbalized that to you?
16       A.    Based on this work, no.
17       Q.    Based on any other work?
18       A.    That I remember.
19       Q.    Based on any other work that your
20   office did?
21                       MS. ELLSWORTH:                Objection.
22       A.    I do remember many years before
23   2012, 2013 an employee in the office
24   expressing concerns.
25   BY MR. STRAWBRIDGE:

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                                                                      Page 212
 1                        Erin E. Driver-Linn
 2       Q.     Which employee was that?
 3       A.
 4       Q.     And what were the nature of
 5           concerns?
 6                        MS. ELLSWORTH:                Objection.
 7       A.     I don't remember specifically other
 8   than I have a memory of him saying to me
 9   something about his people being
10   disadvantaged.       I don't think he used the
11   word "disadvantaged."
12              I have very little memory other than
13   that.
14   BY MR. STRAWBRIDGE:
15       Q.     When did                             work in the
16   office?
17       A.     He was there before I started in
18   2008, and I think he might have left around
19   2011.
20       Q.     Do you know whether his comment was
21   in the context of any particular projects
22   that OIR had been working on?
23                        MS. ELLSWORTH:                Objection.
24       A.     I don't know.
25


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                                                                      Page 230
 1                       Erin E. Driver-Linn
 2   referencing.
 3       Q.    Before you look at the memo, how
 4   would you describe that investigation of
 5   that memo or the analysis in that memo?
 6                       MS. ELLSWORTH:                Objection.
 7       A.    Trying to isolate the weighting of
 8   low income relative to other variables.
 9   BY MR. STRAWBRIDGE:
10       Q.    And did those other variables
11   include ethnicity?
12       A.    I believe it did.
13       Q.    And do you know, was the analysis
14   that would form the basis of this memo that
15   you're referring to, was that performed by
16   Miss Bever and Mr. Hansen?
17                       MS. ELLSWORTH:                Objection.
18       A.    I believe so.
19   BY MR. STRAWBRIDGE:
20       Q.    Was it performed using the same
21   statistical data that they had previously
22   gathered for the February analysis?
23       A.    I'm not sure.
24       Q.    Do you know in preparation -- in
25   preparing for this deposition, do you

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                                                                      Page 232
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.     You can't say, as OIR's
 4   representative, which dataset?
 5                       MS. ELLSWORTH:                Objection.
 6       A.     I need to review the materials,
 7   whether the class years were the same and
 8   whether there were new variables.
 9   BY MR. STRAWBRIDGE:
10       Q.     Sitting here today, do you have any
11   specific knowledge of any steps that were
12   taken to build a completely new statistical
13   model for this May 1st memo compared to the
14   February memo?
15                       MS. ELLSWORTH:                Objection.
16       A.     I would just clarify data model from
17   a dataset?
18   BY MR. STRAWBRIDGE:
19       Q.     Yes.
20       A.     I don't -- I assume you're meaning
21   dataset.
22       Q.     So let's answer the question both
23   ways.    Let's start with dataset.
24              Are you aware of any steps taken to
25   create an entirely new dataset with respect

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                                                                      Page 233
 1                       Erin E. Driver-Linn
 2   to this April analysis vis-a-vis the
 3   February analysis?
 4       A.    I doubt very much it would be
 5   entirely new.
 6       Q.    For example, we saw the suggestion
 7   that Mr. Hansen was going to ask for some
 8   specific additional data that OIR didn't
 9   have from Miss Yong, correct?
10                       MS. ELLSWORTH:                Objection.
11       A.    My interpretation of that exchange
12   was that they were comparing -- it's called
13   metadata -- to see whether the variable
14   names were the same, and then to compare
15   whether there was more refined data that
16   could be merged, I assume.
17   BY MR. STRAWBRIDGE:
18       Q.    Did you take a role in the drafting
19   of the memo to respond to the second
20   question that Dean Fitzsimmons is
21   referencing in this e-mail?
22                       MS. ELLSWORTH:                Objection.
23       A.    I'm not sure.
24   BY MR. STRAWBRIDGE:
25       Q.    Do you remember reviewing drafts of

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                                                                      Page 234
 1                       Erin E. Driver-Linn
 2   that memo before -- as it was being
 3   created?
 4       A.     I don't have a specific memory of
 5   reviewing drafts, but I believe, in
 6   preparation for today, that I did review...
 7       Q.     Was there any guidance in the office
 8   as to who should take responsibility for
 9   admissions issues among the OIR team?
10                       MS. ELLSWORTH:                Objection.
11       A.     What do you mean by "guidance"?
12   BY MR. STRAWBRIDGE:
13       Q.     Is there any reason why this -- both
14   the February analysis and the May analysis
15   was done by Mr. Hansen and                        Miss Bever
16   as opposed to other people in the office?
17       A.     In general, there's efficiency in
18   having people work in the same area,
19   because it's -- it takes a while to learn
20   the data, it takes a while to understand
21   what's going on.
22       Q.     And so, in your experience around
23   2013, 2014, was admissions analysis the
24   responsibility of Miss Bever and
25   Mr. Hansen?

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                                                                      Page 239
 1                       Erin E. Driver-Linn
 2   draft of a memo to Dean Fitzsimmons with
 3   copies to Jeff Neal, Christine Heenan, Nina
 4   Collins and Sally Donahue?
 5       A.    Correct.
 6       Q.    And it's coming from Miss Bever,
 7   yourself and Mr. Hansen?
 8       A.    Correct.
 9       Q.    And do you see the analysis section
10   on the first page?
11       A.    Yes.    "Analysis (Approach)."
12       Q.    Right.
13       A.    Yes.
14       Q.    And do you agree that the question
15   that, at least, this draft appears to
16   describe is an attempt to determine if
17   groups of applicants with similar academic
18   qualifications but different incomes are
19   admitted at different rates and whether
20   that might suggest the presence of a tip
21   for low-income applicants?
22       A.    Yes, that's what it says.
23       Q.    And was that the question that Dean
24   Fitzsimmons was interested in exploring as
25   the extent to which Harvard could show that

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                                                                         Page 240
 1                       Erin E. Driver-Linn
 2   it was, in fact, giving a tip to low-income
 3   applicants?
 4                       MS. ELLSWORTH:                Objection.
 5       A.    I don't recall exactly.                     But looking
 6   at the references to Bill Bowen and Hoxby
 7   and Avery, I think those were underlying
 8   the request.
 9   BY MR. STRAWBRIDGE:
10       Q.    In what way?           How were they
11   underlying the request?
12                       MS. ELLSWORTH:                Objection.
13       A.    My best sense of Dean Fitzsimmons'
14   question at this point in time is that the
15   Hoxby/Avery analysis and the Bill Bowen
16   analysis around selective institutions not
17   getting applications from all qualified
18   low-income students was in Dean
19   Fitzsimmons' mind, and he wanted to think
20   about it related to Harvard College
21   admissions.
22   BY MR. STRAWBRIDGE:
23       Q.    The next page, if you flip over to
24   Page 2, the paragraph goes on to talk about
25   "Any difference found could be due to other

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                                                                      Page 279
 1                       Erin E. Driver-Linn
 2       A.    I don't have any reason to believe
 3   that.
 4   BY MR. STRAWBRIDGE:
 5       Q.    Do you believe that any of the
 6   statistical analysis that appears on this
 7   chart is in error?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    I do not have any reason to believe
10   that.
11   BY MR. STRAWBRIDGE:
12       Q.    Who was this memo shared with?
13       A.    It was sent to Dean Fitzsimmons and
14   cc'd to his assistant Aliesha.
15       Q.    Was it shared with Jeff Neal and
16   Christine Heenan at some point?
17       A.    I don't know.
18       Q.    Was it shared with Sally Donahue at
19   some point?
20       A.    I don't know.            I think I might have
21   seen something in preparation for today
22   that makes me think that Sally may have
23   received it.
24       Q.    As the representative of OIR, can
25   you tell us who received this memo at some

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 1                       Erin E. Driver-Linn
 2                               (Exhibit No. 15 marked
 3                               for identification.)
 4

 5   BY MR. STRAWBRIDGE:
 6         Q.   I'm going to hand you a document
 7   marked as Exhibit 15.
 8         A.   (Witness reviews document.)
 9         Q.   Do you recognize this document?
10         A.   I'm not sure if I saw it in
11   preparation for today.             I might have.
12         Q.   Do you recall attending a meeting on
13   September 9, 2013 regarding Fisher versus
14   University of Texas?
15         A.   Not specifically.
16         Q.   Do you have any reason to doubt that
17   such a meeting took place?
18         A.   No.
19         Q.   Who from OIR attended that
20   meeting?
21                       MS. ELLSWORTH:                Objection.
22         A.   According to the attendee list on
23   this document, it would have been Erica and
24   me.
25


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                                                                      Page 287
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Do you know why the categories item
 4   on this document says "Policy,                    Erica"?
 5       A.    Yes.
 6       Q.    Why does it say that?
 7       A.    My assistant at the time would be --
 8   took it upon herself to try to categorize
 9   Outlook invitations.
10       Q.    Do you know what was discussed at
11   this meeting?
12                       MS. ELLSWORTH:                Objection.
13   I will -- you can answer that as a
14   yes-or-no question.
15       A.    No.
16   BY MR. STRAWBRIDGE:
17       Q.    Do you know whether OIR's prior
18   reports that we've looked at today were
19   discussed during this meeting?
20                       MS. ELLSWORTH:                Objection.
21             I'll instruct the witness not to
22   answer the question on the grounds of
23   attorney-client privilege.
24   BY MR. STRAWBRIDGE:
25       Q.    Are you going to follow that

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                                                                      Page 288
 1                       Erin E. Driver-Linn
 2   instruction?
 3       A.     I am.
 4       Q.     Do you know whether an analysis of
 5   race-neutral alternatives was discussed at
 6   this meeting?
 7                       MS. ELLSWORTH:                Objection.
 8              I'll instruct the witness not to
 9   answer the question.
10   BY MR. STRAWBRIDGE:
11       Q.     Are you going to follow that
12   instruction?
13       A.     I am.
14       Q.     Do you know whether OIR continued to
15   do any work with respect to the effect of
16   ethnicity on admissions following this
17   meeting?
18                       MS. ELLSWORTH:                Objection.
19              I'll instruct the witness not to
20   answer the question.
21   BY MR. STRAWBRIDGE:
22       Q.     Are you going to follow that
23   instruction?
24       A.     Yes.
25       Q.     Did you do any work with respect to

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                                                                      Page 289
 1                       Erin E. Driver-Linn
 2   the effect of ethnicity on admissions after
 3   this meeting that was not done at the
 4   direction of counsel?
 5                       MS. ELLSWORTH:                Objection.
 6              You may answer that question.
 7       A.     Could you repeat the question?
 8   BY MR. STRAWBRIDGE:
 9       Q.     Did you do any work with respect to
10   ethnicity in admissions after this meeting
11   that was not done at the direction of
12   counsel?
13                       MS. ELLSWORTH:                Objection.
14       But you can answer.
15       A.     I'm not sure.
16   BY MR. STRAWBRIDGE:
17       Q.     Did OIR do any work after this
18   meeting that was not at the direction of
19   counsel regarding ethnicity as a factor in
20   the admissions at Harvard?
21                       MS. ELLSWORTH:                Objection.
22              You may answer.
23       A.     I'm not sure.
24   BY MR. STRAWBRIDGE:
25       Q.     Prior to this meeting -- I think you

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                                                                      Page 290
 1                       Erin E. Driver-Linn
 2   said this earlier, but I want to make sure
 3   that I understand -- did anyone come back
 4   to OIR with respect to that May 1st memo
 5   and particularly with concerns about
 6   discrimination against Asians in the
 7   admissions process?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    You mean by "come back," ask
10   questions?
11   BY MR. STRAWBRIDGE:
12       Q.    Yes.
13       A.    Not that I recall.
14       Q.    Did anyone criticize the work that
15   OIR had done?
16                       MS. ELLSWORTH:                Objection.
17       A.    Not that I recall.
18   BY MR. STRAWBRIDGE:
19       Q.    Did anyone suggest that OIR should
20   stop doing any further analysis to that
21   question?
22       A.    Not that I recall.
23       Q.    Did anyone raise any criticisms
24   about the February report that OIR had done
25   examining whether Asian-Americans were

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                                                                        Page 291
 1                       Erin E. Driver-Linn
 2   disadvantaged by college admissions?
 3                       MS. ELLSWORTH:                Objection.
 4       A.    My best understanding from
 5   preparation for today was that there were
 6   quite a few work products in February.
 7             Could you be more specific?
 8   BY MR. STRAWBRIDGE:
 9       Q.    I'm talking about the document that
10   we looked at that had your handwritten
11   notes on it that appears similar to a
12   document that was presented to Dean
13   Fitzsimmons in a meeting on February 25th.
14       A.    Okay.     Could you repeat the
15   question?
16       Q.    Did anyone come back to you with
17   questions -- strike that.
18             The question was, did anyone come
19   back to you with criticism of OIR's work in
20   that memo?
21                       MS. ELLSWORTH:                Objection.
22       A.    That one, I wouldn't call a memo.                    I
23   don't recall criticisms.
24   BY MR. STRAWBRIDGE:
25       Q.    At the -- as of September 2013, was

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                                                                      Page 292
 1                       Erin E. Driver-Linn
 2   OIR doing any analysis with respect to
 3   Harvard's use of race in the admissions
 4   process?
 5                       MS. ELLSWORTH:                Objection.
 6              I'll remind the witness not to
 7   disclose any communications with counsel in
 8   answering the question.
 9              But you may answer the question if
10   you can do so without disclosing that
11   information.
12       A.     I can't answer that question.
13   BY MR. STRAWBRIDGE:
14       Q.     You can't answer that question
15   because you were doing work at the
16   direction of counsel?
17                       MS. ELLSWORTH:                Objection.
18              I'll instruct the witness not to
19   answer the question.
20   BY MR. STRAWBRIDGE:
21       Q.     Are you going to follow that
22   instruction?
23       A.     Yes.
24       Q.     Just to be clear for the record, the
25   question is just not about the content of

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                                                                      Page 293
 1                       Erin E. Driver-Linn
 2   the work, just yes or no, were you doing
 3   work on that topic?
 4                       MS. ELLSWORTH:                The
 5   instruction stands.
 6

 7                               (Exhibit No. 16 marked
 8                               for identification.)
 9

10   BY MR. STRAWBRIDGE:
11       Q.    I'm handing you a document that's
12   been marked as Exhibit 16.
13       A.    (Witness reviews document.)
14             Okay.
15       Q.    Do you recognize this document?
16       A.    I do.
17       Q.    Is this the -- what do you recognize
18   this document to be?
19       A.    A confidential draft entitled
20   "Modeling Admission to Harvard College:
21   Preliminary Analysis."
22       Q.    In substance, is the content of this
23   draft similar to the February report that
24   we looked at previously?
25                       MS. ELLSWORTH:                Objection.

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                                                                      Page 294
 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    I'm sorry.         February work product.
 4       A.    It appears similar.
 5       Q.    And particularly, the February work
 6   product about evaluating factors in
 7   admission to Harvard College?
 8       A.    It appears similar to -- in that
 9   earlier document, I think it was pages 30
10   through 39.
11       Q.    What work had been done on this
12   analysis since October -- between
13   February 2013 and October 8, 2013?
14                       MS. ELLSWORTH:                Objection.
15       A.    I don't know.
16   BY MR. STRAWBRIDGE:
17       Q.    Why was this document prepared with
18   a date of October 8, 2013?
19                       MS. ELLSWORTH:                Objection.
20       A.    I don't know.
21   BY MR. STRAWBRIDGE:
22       Q.    Are you aware of any mathematical
23   errors that affect the contents of this
24   document?
25                       MS. ELLSWORTH:                Objection.

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                                                                      Page 295
 1                       Erin E. Driver-Linn
 2       A.    I'm not aware of mathematical
 3   errors.
 4   BY MR. STRAWBRIDGE:
 5       Q.    Are you aware of any statistical
 6   errors regarding the process that is set
 7   forth in this document?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    It depends what you mean by "error."
10   BY MR. STRAWBRIDGE:
11       Q.    Are you aware of anything in here
12   that does not accurately reflect the data
13   that was purporting to be analyzed?
14                       MS. ELLSWORTH:                Objection.
15       A.    Yes.
16   BY MR. STRAWBRIDGE:
17       Q.    What is that?
18       A.    Sitting here today, I don't think
19   this is the best way to build these models.
20       Q.    When you say you don't think it's
21   the best way to build these models, does
22   that mean you think there's something
23   that's actually inaccurate about this?
24                       MS. ELLSWORTH:                Objection.
25       A.    I think you said inaccurate in

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                                                                      Page 296
 1                       Erin E. Driver-Linn
 2   reaching the goals of the -- purported in
 3   the -- in this document.
 4   BY MR. STRAWBRIDGE:
 5       Q.    My actual question is, are you aware
 6   of any statistical errors in the analysis
 7   of the data that was purporting to be
 8   reviewed in this document?
 9                       MS. ELLSWORTH:                Objection.
10       A.    I'm not aware of statistical errors
11   in the way I believe you are meaning it.
12   BY MR. STRAWBRIDGE:
13       Q.    When did you come to view this as
14   not being the best way to analyze this
15   question?
16                       MS. ELLSWORTH:                Objection.
17       A.    I don't know.
18   BY MR. STRAWBRIDGE:
19       Q.    Was it after this lawsuit was
20   filed?
21                       MS. ELLSWORTH:                Objection.
22       A.    I don't know.
23   BY MR. STRAWBRIDGE:
24       Q.    Did you -- are there any written
25   documents during your time at OIR that

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                                                                      Page 297
 1                       Erin E. Driver-Linn
 2   reflect your view that this was not the
 3   best way to do this type of analysis?
 4                       MS. ELLSWORTH:                Objection.
 5       A.    Not that I'm aware of.
 6   BY MR. STRAWBRIDGE:
 7       Q.    Did you have that view on
 8   October 8, 2013?
 9       A.    I don't know.
10       Q.    Is that a view that you've come to
11   after consultation with attorneys in this
12   case?
13                       MS. ELLSWORTH:                Objection.
14             I will instruct the witness not to
15   answer that question.
16   BY MR. STRAWBRIDGE:
17       Q.    Did you come to that view based on
18   any discussions you had with Dean
19   Fitzsimmons outside the presence of
20   attorneys?
21                       MS. ELLSWORTH:                Objection.
22             You may answer.
23       A.    No.
24   BY MR. STRAWBRIDGE:
25       Q.    Did you come to that view with

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                                                                      Page 321
 1                       Erin E. Driver-Linn
 2       A.    Yes.
 3       Q.    And do you remember meeting with
 4   Dean Khurana in July of 2014?
 5       A.    I don't remember specifically.
 6       Q.    What was the topic of your meeting
 7   with Dean Khurana on July 10, 2014?
 8                       MS. ELLSWORTH:                Objection.
 9       A.    Based on the set of documents, I
10   believe we were discussing OIR's analytic
11   work.
12   BY MR. STRAWBRIDGE:
13       Q.    And why were the attachments to this
14   report documents that you were discussing
15   at that meeting?
16                       MS. ELLSWORTH:                Objection.
17       A.    I'm not sure exactly.
18   BY MR. STRAWBRIDGE:
19       Q.    Who decided to share this work with
20   Dean Khurana?
21       A.    My best guess is it would be a
22   combination of me and Erica and John and
23   Liam.
24       Q.    At the last line, Miss Bever's
25   e-mail to you says "I'm also attaching the

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                                                                      Page 322
 1                       Erin E. Driver-Linn
 2   additional college related materials we
 3   should probably share with him."
 4             Did I read that correctly?
 5       A.    Yes.
 6       Q.    And why did Miss Bever believe that
 7   this was material that should be shared
 8   with Dean Khurana?
 9                       MS. ELLSWORTH:                Objection.
10       A.    I don't know.            My best guess is that
11   with him as an incoming dean or a new dean,
12   I don't remember the exact timing, we
13   wanted to share a comprehensive set of what
14   the office did at that time.
15   BY MR. STRAWBRIDGE:
16       Q.    Do you agree that one of the
17   attachments that is slated to be shared
18   with Dean Khurana, according to the agenda
19   in this e-mail, is a February 2013 analysis
20   regarding evaluating factors in admissions?
21             And I believe it begins at the page
22   with a Bates stamp of 75022 on this
23   document.
24       A.    (Witness reviews document.)
25             Yes, I agree.

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 1                       Erin E. Driver-Linn
 2       Q.    And do you agree that another
 3   attachment to this e-mail is the
 4   May 1, 2013 memo to Dean Fitzsimmons that
 5   looks at the various weight of certain
 6   admissions characteristics?
 7                       MS. ELLSWORTH:                Objection.
 8   BY MR. STRAWBRIDGE:
 9       Q.    Including low income and
10   ethnicity?
11                       MS. ELLSWORTH:                Objection.
12       A.    I agree that among these materials
13   is the confidential draft of a memo
14   entitled "Harvard College Admissions and
15   Low-income Students."
16             It appeared to be the same as what
17   we looked at before.
18   BY MR. STRAWBRIDGE:
19       Q.    And can you explain why these were
20   two of the three memos that you were slated
21   to share with Dean Khurana on                         July 11,
22   2014?
23                       MS. ELLSWORTH:                Objection.
24       A.    My best guess and understanding is
25   that we provided many -- as many materials

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 1                       Erin E. Driver-Linn
 2   as we thought would make sense to brief him
 3   as an incoming or new dean.
 4   BY MR. STRAWBRIDGE:
 5       Q.     Did you think it was important to
 6   share with him information that was
 7   inaccurate?
 8                       MS. ELLSWORTH:                Objection.
 9       A.     No.
10   BY MR. STRAWBRIDGE:
11       Q.     If you had thought that this
12   information was of no value whatsoever,
13   would you have shared it with Dean
14   Khurana?
15                       MS. ELLSWORTH:                Objection.
16       A.     I don't think so.
17   BY MR. STRAWBRIDGE:
18       Q.     What was Dean Khurana's reaction to
19   receiving this information?
20                       MS. ELLSWORTH:                Objection.
21       A.     I don't recall.
22   BY MR. STRAWBRIDGE:
23       Q.     Do you recall going to the meeting?
24       A.     I recall meetings with Dean Khurana
25   around the time of him being a new dean,

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 1                       Erin E. Driver-Linn
 2   but I don't specifically recall.
 3       Q.     Do you remember him discussing the
 4   analytical approach that was taken in these
 5   two memos?
 6       A.     No, I don't.
 7       Q.     Do you remember him criticizing it
 8   in any way?
 9                       MS. ELLSWORTH:                Objection.
10       A.     No, I don't.
11   BY MR. STRAWBRIDGE:
12       Q.     Do you remember him asking for more
13   follow-up to really dig into this
14   question?
15                       MS. ELLSWORTH:                Objection.
16       A.     No, I don't.
17   BY MR. STRAWBRIDGE:
18       Q.     Do you remember him expressing any
19   concern that Asian-Americans might be
20   disadvantaged by Harvard's admissions
21   process?
22                       MS. ELLSWORTH:                Objection.
23       A.     No, I don't.
24   BY MR. STRAWBRIDGE:
25       Q.     Do you think that's something that

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 1                       Erin E. Driver-Linn
 2   matters to the people at Harvard?
 3                       MS. ELLSWORTH:                Objection.
 4       A.    I can't answer that question.
 5   BY MR. STRAWBRIDGE:
 6       Q.    Well, as I understand your
 7   testimony, the work that OIR did was shared
 8   with Dean Fitzsimmons at a meeting in
 9   February of 2013, correct?
10                       MS. ELLSWORTH:                Objection.
11       A.    Could you repeat that, please?
12   BY MR. STRAWBRIDGE:
13       Q.    The work that OIR did in analyzing
14   the factors that race plays in the
15   admission was shared at a meeting with Dean
16   Fitzsimmons on April 25 -- or I'm sorry,
17   February 25, 2013?
18       A.    If we're talking about the same
19   model evaluating factors, yes.
20       Q.    And your testimony is that you don't
21   recall anyone asking any follow-up
22   questions about that analysis during or
23   after that meeting?
24                       MS. ELLSWORTH:                Objection.
25       A.    Not that I recall.

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 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3         Q.   You don't remember anyone critiquing
 4   it?
 5         A.   Not that I recall.
 6         Q.   You don't remember anyone asking for
 7   further exploration of this question?
 8                       MS. ELLSWORTH:                Objection.
 9         A.   Not that I can talk about.
10   BY MR. STRAWBRIDGE:
11         Q.   Other than -- other than in the
12   presence of counsel, I suppose?
13         A.   Yes.
14         Q.   Do you know when that was?
15                       MS. ELLSWORTH:                Objection.
16         A.   No.
17   BY MR. STRAWBRIDGE:
18         Q.   After this lawsuit was filed?
19         A.   I don't recall.
20         Q.   And then we also looked at the                     May
21   1st memo that was sent to Dean Fitzsimmons
22   on that day, correct?
23         A.   Yes.
24         Q.   And I believe your testimony is that
25   upon receipt of that memo, you recall no

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 1                       Erin E. Driver-Linn
 2   concern being expressed about the negative
 3   effect of being Asian in the Harvard
 4   admissions process?
 5                       MS. ELLSWORTH:                Objection.
 6   BY MR. STRAWBRIDGE:
 7       Q.    Is that right?
 8       A.    I'm sorry.         Could you repeat that?
 9       Q.    I believe your testimony was that
10   you don't remember Dean Fitzsimmons raising
11   any concerns about the implications of that
12   analysis with respect to being Asian and
13   how it was negatively associated with
14   admissions outcomes.
15                       MS. ELLSWORTH:                Objection.
16       A.    I'm not sure that's how I
17   characterize the analysis, but yes, I do
18   not recall criticisms.
19   BY MR. STRAWBRIDGE:
20       Q.    You don't remember any requests for
21   further follow-up research on that
22   particular question?
23                       MS. ELLSWORTH:                Objection.
24       A.    No.
25


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 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.     Is that because anything you've done
 4   has been at the direction of counsel?
 5                       MS. ELLSWORTH:                Objection.
 6       A.     I'm sorry.        I've lost what I'm
 7   answering here.
 8   BY MR. STRAWBRIDGE:
 9       Q.     I'm just trying to clarify.
10              You said you couldn't answer the
11   question as to -- you said "not that I can
12   discuss" when I asked you if you took any
13   steps to further investigate whether
14   Asian-Americans were being discriminated
15   against.
16              My only question was, was that
17   because your answer would require you to
18   reveal things that you have done at the
19   direction or in the presence of counsel?
20                       MS. ELLSWORTH:                You may answer
21   that question with a yes or no.
22       A.     Yes.
23   BY MR. STRAWBRIDGE:
24       Q.     You were talking about
25              Do you recall that testimony?

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 1                       Erin E. Driver-Linn
 2       A.     Yes.
 3       Q.     You said that you wanted to
 4   understand what he meant when he said that
 5   his people were being discriminated
 6   against?
 7                       MS. ELLSWORTH:                Objection.
 8       A.     I can't remember exactly what I
 9   said.
10   BY MR. STRAWBRIDGE:
11       Q.     Then I asked you, what did you do to
12   educate yourself, and you testified, I
13   believe, nothing explicit.
14       A.     That sounds right.
15       Q.     What did you do that was not
16   explicit?
17                       MS. ELLSWORTH:                Objection.
18       A.     What I was thinking of is just
19   observations working with...
20   BY MR. STRAWBRIDGE:
21       Q.     And what types of observations?
22       A.     Trying to understand why he felt
23   that way.
24       Q.     Did you actually have conversations
25   with him about it?

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 1                       Erin E. Driver-Linn
 2       A.     I did not.
 3       Q.     Did you take him to lunch, talk
 4   about it?
 5                       MS. ELLSWORTH:                Objection.
 6       A.     I did not.
 7   BY MR. STRAWBRIDGE:
 8       Q.     Did you ask him if he had any
 9   literature that you could read about it?
10                       MS. ELLSWORTH:                Objection.
11       A.     Not that I recall.
12   BY MR. STRAWBRIDGE:
13       Q.     What did he do in the office of
14   institutional research?
15       A.     When                started, I believe he
16   was a data and reporting -- I can't
17   remember the title, but he did more of the
18   sort of IPEDS work that we talked about
19   earlier.    And then over time, he, much like
20   Mark, began taking classes and doing
21   broader kinds of work.
22       Q.     Do you know whether he ever actually
23   looked at admissions data as part of his
24   job?
25                       MS. ELLSWORTH:                Objection.

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 1                       Erin E. Driver-Linn
 2       A.    Yes.
 3   BY MR. STRAWBRIDGE:
 4       Q.    And in what way did he look at
 5   admissions data?
 6                       MS. ELLSWORTH:                Objection.
 7       A.    You have to define what you mean by
 8   "way."
 9   BY MR. STRAWBRIDGE:
10       Q.    I guess my question is, you said
11   "yes."
12             So what are you referring to when
13   you said that he worked with admissions
14   data?
15                       MS. ELLSWORTH:                Objection.
16       A.    I remember                      working on early
17   action.
18   BY MR. STRAWBRIDGE:
19       Q.    With respect to what the
20   implications of early action were with
21   respect to the demographics of Harvard's
22   admissions?
23                       MS. ELLSWORTH:                Objection.
24       A.    I'm sorry.         Could you repeat the
25   question?

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 1                       Erin E. Driver-Linn
 2   BY MR. STRAWBRIDGE:
 3       Q.    Was one of the things he was looking
 4   at for early action was the demographic
 5   effects on Harvard's class was when early
 6   actions were -- when early action was
 7   eliminated?
 8       A.    Yes.
 9       Q.    And do you know whether -- what --
10   do you know what the demographic effect of
11   the elimination of early action was?
12                       MS. ELLSWORTH:                Objection.
13       A.    There are many effects, and I can't
14   recall specifically.
15   BY MR. STRAWBRIDGE:
16       Q.    Do you recall whether any
17   demographic groups saw lower yield
18   following the elimination of early
19   action?
20                       MS. ELLSWORTH:                Objection.
21       A.    I recall generally that that was
22   part of the analysis.
23   BY MR. STRAWBRIDGE:
24       Q.    Do you remember whether Asians saw a
25   decrease or an increase in yield following

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 1                       Erin E. Driver-Linn
 2   the elimination of early action?
 3       A.    I don't recall specifically.
 4             I do remember that there's an
 5   exhibit related to that in some of the
 6   materials put together in February 2013.
 7       Q.    Do you know whether that information
 8   that was put together to analyze early
 9   action, are you aware of any errors in that
10   document?
11                       MS. ELLSWORTH:                Objection.
12       A.    I'm not.
13   BY MR. STRAWBRIDGE:
14       Q.    When                         said this, did you
15   tell anyone about his views?
16       A.    Not that I recall.
17       Q.    Do you know whether he shared his
18   view with anyone else at the OIR?
19                       MS. ELLSWORTH:                Objection.
20       A.    I don't.
21   BY MR. STRAWBRIDGE:
22       Q.    Do you know whether he shared his
23   view with anybody else at Harvard?
24                       MS. ELLSWORTH:                Objection.
25       A.    I don't.

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 1                       Erin E. Driver-Linn
 2       A.    Yes.    It appears we sent it to him
 3   among other things.
 4       Q.    I think you said that at the
 5   February 25 meeting, Miss Yong or Miss
 6   Donahue may have been there?
 7       A.    I believe I said it was possible.
 8       Q.    And do you know whether anyone else
 9   from admissions was there to see this
10   document or to see that analysis?
11                       MS. ELLSWORTH:                Objection.
12       A.    I don't know whether anyone else was
13   at that meeting.
14   BY MR. STRAWBRIDGE:
15       Q.    Do you know whether anybody else
16   outside the office of institutional
17   research has seen the analysis before --
18   and I'll give you a date range -- before
19   November of 2014?
20                       MS. ELLSWORTH:                Objection.
21   Again, which analysis?
22   BY MR. STRAWBRIDGE:
23       Q.    I'm talking about the substance of
24   the analysis that appears both in the
25   February and that was used at the

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 2   NAME OF CASE:
 3   DATE OF DEPOSITION:
 4   NAME OF WITNESS:
 5   Reason Codes:
 6        1.   To clarify the record.
          2.   To conform to the facts.
 7        3.   To correct transcription errors.
 8   Page ______ Line ______ Reason ______
 9   From _____________________ to _____________________
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 1                            J U R A T
 2

 3   I' 'l?ir,/1\. ),,..;- t'IV wltAY( ' do hereby certify under
 4   penalty of perj ury that I have read the foregoing
 5   transcript of my deposition taken on 7(�1(")-d17
 6   that I have made such corrections as appear noted in
 7   the attached document; that my testimony as contained
 8   herein, as corrected, is true and correct.
 9

10   DATED this / � day of
11

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18   SIGNATURE OF WITNESS
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